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                                         ORDERED.

         Dated: May 22, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


In re:                                                          Case No.: 6:18-05179
                                                                Chapter 7

BASSAM R ALKOWNI
HASEENA KHAN

Debtors                         /

           AGREED ORDER GRANTING MOTION TO SELL REAL PROPERTY
            AND PAY SECURED CREDITORS AND TRANSACTIONAL COSTS
                              (10436 Sparkle Ct)

          THIS CASE came before the court at a hearing on May 14, 2019 to consider Chapter 7
Trustee, Arvind Mahendru’s (“Trustee”) Motion to Sell Real Property and Pay Secured Creditors
and Transactional Costs (the “Motion”) (Dkt. No. 41). The Secured Creditor, Internal Revenue
Service, has consented to this Order. Accordingly, it is:
          ORDERED and ADJUDGED as follows:
          1.     The notice of the Motion is approved as proper and adequate under the circumstances.
          2.     The Motion is GRANTED.
          3.     The Trustee is authorized to sell the real property located at:

                 DIAMOND COVE UNIT 1A 32/9 LOT 22 as recorded in the public records of
                 Orange County, Florida (the “Property”).
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       4.      The Trustee is authorized to pay the servicer for the secured mortgage creditor,

Bank of America, (“Secured Creditor”) the amount of their lien as of the date of closing or other

amount agreed to in writing by Bank of America to release their lien.

       5.      The Trustee is authorized to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtors in the Real Property to Ngu

Huu Do and Christine Do and/or their assigns or other disinterested, bona fide purchaser (the

“Buyer”).

       6.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real

property taxes and outstanding post-petition real property taxes pro-rated as of the closing with

respect to the real property included among the purchased assets; and (b) other anticipated closing

costs (estimated below):

       Total Sales/Brokers Commission:
               2% to BK Global                                              $6,026.00
               4% to Century 21                                             $12,054.00
       *commission is anticipated to be shared with cooperating agent
       Title Charges:                                                       $2,915.00
       County Taxes:                                                        $2,470.00
       Other / Debits (incl. 506(c) surcharge)                              $1,290.30
       Satisfaction of Liens:
       Bank of America (home mortgage)                                      $ 270,743.60
       IRS                                                                  $30,226.00
       HOA                                                                  $3,338.28

       Without further order of the court, the Trustee is authorized to pay closing costs in amounts

different than the estimated amounts described above so long as they are within industry standard

and with the written consent of the lienholder, Secured Creditor.
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       7.      Except as otherwise provided in the Motion, the Real Property shall be sold,

transferred, and delivered to Buyers on an “as is, where is” or “with all faults” basis.

       8.      The Trustee is authorized to pay the real estate agent’s fees in the total amount of

$18,080.00 from the proposed sale of the property.

       9.      The title company is authorized to pay the Internal Revenue Service the total

amount of $30,226.00 directly from their escrow account.

       10.     This Court retains jurisdiction to enforce and implement the terms and provisions

of this Order and the purchase agreement, all amendments thereto, any waivers and consents

thereunder, and each of the documents executed in connection therewith in all respects, including

retaining jurisdiction to (a) compel delivery of the Real Property to the Buyer(s), (b) resolve any

disputes arising under or related to the purchase agreement, and (c) resolve any disputes regarding

liens, claims, or interests asserted against the Real Property.

       11.     The purchase agreement and any related documents or other instruments may be

modified, amended or supplemented by the parties thereto, in a writing signed by both parties

without further order of the Court, provided that any such modification, amendment or supplement

does not have a material adverse effect on the Debtors’ bankruptcy estate.

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Arvind Mahendru, Trustee, is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
